Case 2:21-mc-01118-PA-RAO Document 10-1 Filed 02/23/22 Page1lofi1 Page ID #:111

Court of Appeals

of Marpland
Annapolis, MD

 

CERTIFICATE OF GOOD STANDING

STATE OF MARYLAND, ss:

I, Suzanne Johnson, Clerk of the Court of Appeals of Maryland,
do hereby certify that on the twentieth day of December, 1985,

John Stephen Simms

having first taken and subscribed the oath prescribed by the Constitution and
Laws of this State, was admitted as an attorney of said Court, is now in good
standing, and as such is entitled to practice law in any of the Courts of said
State, subject to the Rules of Court.

oe

~

In Testimony Whereof, J have hereunto
set my hand as Clerk, and affixed the Seal
of the Court of Appeals of Maryland, this
third day of February, 2022.

“Sy

Clerk of the Court of Appeals of Maryland

 
